	

                               NO. 07-11-0181-CV
	
	IN THE COURT OF APPEALS

	FOR THE SEVENTH DISTRICT OF TEXAS

	AT AMARILLO

	PANEL D

	MAY 23, 2011
	______________________________

	JIMMY DOUGLAS AND BRAD DOUGLAS, INDIVIDUALLY AND
               D/B/A DOUGLAS GENERAL CONSTRUCTION, JIMMY DOUGLAS
                 CONSTRUCTION, AND/OR DOUGLAS CONSTRUCTION AND
                      DOUGLAS GENERAL CONSTRUCTION, INC.,
                                       
				Appellants
                                      V.
                                       
               STARDUST LAND &amp; CATTLE, LTD., F/K/A CABELLERO
                        CREEK, LTD. AND ROBERT A. SHAW,
                                       
				Appellees
                        ______________________________

	FROM THE 99th DISTRICT COURT OF LUBBOCK COUNTY;

	NO. 2010-550,480; HONORABLE WILLIAM C. SOWDER, PRESIDING
                         _____________________________

                            ORDER DISMISSING APPEAL
                            _____________________________

Before QUINN, C.J., and CAMPBELL and PIRTLE, JJ.
Appellants have filed a motion to dismiss.  Without passing on the merits of the case, we grant the motion pursuant to Texas Rule of Appellate Procedure 42.1(a)(1) and dismiss the appeal.  Having dismissed the appeal at appellants' request, no motion for rehearing will be entertained, and our mandate will issue forthwith.
						Brian Quinn
						Chief Justice
